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AO 106 (Rev. 01/09) Application for a Search Warrant


                                                                                                         strict
                                                                                              for the
                                                                         Western District of New York
 In the Matter of the Search of Premises Located at;
 (BrieJIy describe the property to he searched or identify the petson by name and address.)



 25 Avery Avenue                                                                                                                  Case No. 19-mj-1019
 Lackawanna, New York 14218                                                                                                       (Filed Under Seal)



                                                      APPLICATION FOR A SEARCH WARRANT

       I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe
the properly to be searched and give its location)'.
                           See Attachment A, which is attached hereto and incorporated by reference herein,

located in the Western District of New York, there is now concealed (identify the person or describe the property to he seized)'.
 Evidence, contraband, fruits, and instrumentalities pertaining to violations of Title 18, United States Code,
 Sections 2320, 542, and 545, as more fully set forth in Attachment B, which is attached hereto and
 incorporated by reference herein.

The basis for search under Fed. R. Crim. P. 41(c) is (check one or more)'.
       ^ evidence of a crime;
       ^ contraband, fruits of crime, or other items illegally possessed;
       lEI property designed for use, intended for use, or used in committing a crime;
             □ a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of Title 18, United States Code, Sections 2320, 542, and 545.

The application is based on these facts:
             K continued on the attached sheet.
             □ Delayed notice of                               days (give exact ending date if more than 30 days:                                    -) is
                    requested under 18 U.S.C. § 3103a, the basis of whicb<i5 set fW                                                       d sheet.




                                                                                                                        Applicant's signature


                                                                                                        WILLIAM AIELLO
                                                                                                        SPECIAL AGENT
                                                                                                        HOMELAND SECURITY INVESTIGATIONS
                                                                                                                        Printed name and title

Sworn to before me and signed in my presence.
Date:         March /g .2019
                                                                                                                            Judge's signatum
                                                                                                        HONORABLE JEREMIAH J. McCARTHY
City and state: Buffalo. New York                                                                       UNITED STATES MAGISTP ATE JUDGE
                                                                                                                          Printed name and Title
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                            AFFroAVIT IN SUPPORT OF AN
                      APPLICATION FOR A SEARCH WARRANT



STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )


       I, William Aiello, a Special Agent(SA)with Homeland Security Investigations(HSI),

being duly sworn, depose and state as follows:



                                     INTRODUCTION


       1.      I am a Special Agent with The Department of Homeland Security (DHS),

Homeland Security Investigations (HSI), in Buffalo, New York, and have been employed in

this capacity for nearly 8 years. I was previously employed as a United States Postal Inspector

with the United States Postal Inspection Service(USPIS)for nearly 4 years. Before I began

my career as a Postal Inspector and Special Agent, I was employed as a Police Officer with

the Henrico County Police Department in Richmond, Virginia. In my capacity as a federal

agent, I have investigated criminal violations relating to commercial fraud and intellectual

property rights in violation of Title 18, United States Code, Sections 2320, 542 and 545.



       2.      This affidavit is submitted in support of an application for a warrant to search

25 Avery Avenue, Lackawanna, NY 14218, hereafter referred to as the "SUBJECT

PREMISES", more fully described in Attachment "A",for evidence of violations ofTitle 18,

United States Code, Section 2320, Trafficking in Counterfeit Goods or Services; Title 18,

United States Code, Section 542, Entry of Goods by Means ofFalse Statement; and Title 18,
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United States Code, Section 545, Smuggling Goods into the United States. The items to be

seized are more fully described in Attachment "B".



       3.      I am familiar with the information contained in this affidavit based upon my

participation in the investigation, my review of documents obtained as part of this

investigation, information provided to me by other law enforcement officers, and information

provided to me by industry experts. Because this affidavit is submitted for the limited purpose

of securing a search warrant, it does not contain all the information which I have learned

during the course of this investigation. I have set forth only those facts that I believe are

necessary to establish probable cause to believe that evidence of violations ofTitle 18, United

States Code, Sections 2320, 542 and 545 are presently located at the SUBJECT PREMISES.



                               STATUTORY AUTHORITY


       4.      Based on the facts set forth in this affidavit, I respectfully submit there is

probable cause to believe that there is presently concealed, in the SUBJECT PREMISES,the

items described in Attachment B hereto, all of which constitutes evidence, fruits, and

instrumentalities ofviolations ofTitle 18, United States Code,Section 542(Entry ofgoods by

means of false statement); Title 18, United States Code, Section 545 (Smuggling goods into

the United States); and Title 18, United States Code, Section 2320 (trafficking in counterfeit

goods).

               (A)    Title 18, United States Code, Section 542 provides: Whoever enters or
                      introduces, or attempts to enter or introduce, into the commerce of the
                      United States any imported merchandise by means of any fraudulent or
                      false invoice, declaration, affidavit, letter, paper, or by means of any
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         false statement, written or verbal, or by means ofany false or fraudulent
         practice or appliance, or makes any false statement in any declaration
         without reasonable cause to believe the truth of such statement, or
         procures the making of any such false statement as to any matter
         material thereto without reasonable cause to believe the truth of such
         statement, whether or not the United States shall or may be deprived of
         any lawful duties, [is guilty of a crime].

   (B)   Title 18, United States Code,Section 545 provides: Whoever knowingly
         and willfully, with intent to defraud the United States, smuggles, or
         clandestinely introduces or attempts to smuggle or clandestinely
         introduce into the United States any merchandise which should have
         been invoiced, or makes out or passes, or attempts to pass, through the
         customhouse any false,forged, or fraudulent invoice, or other document
         or paper; or whoever fraudulently or knowingly imports or brings into
         the United States, any merchandise contrary to law, or receives,
         conceals, buys, sells, or in any manner facilitates the transportation,
         concealment, or sale of such merchandise after importation, knowing
         the same to have been imported or brought into the United States
         contrary to law, [is guilty of a crime].

   (C)   Title 18, United States Code, Section 2320(a)(1) provides: whoever
         intentionally traffics in goods or services and knowingly uses a
         counterfeit mark on or in connection with such goods or services ... or
         attempts or conspires to [do so is guilty of a crime].

   (D)   Authorization to Inspect Arriving Shipments Seized bv U.S.
         Cnstnms and Border Protection


         19 C.F.R. 162.6, Search of persons, baggage and merchandise provides
         that:


         All persons, baggage, and merchandise arriving in the Customs territory
         of the United States from places outside thereof are liable to inspection
         and search by a Customs officer. Port directors and special agents in
         charge are authorized to cause inspection, examination, and search to
         be made under section 467, Tariff Act of 1930, as amended(19 U.S.C.
         1467), of persons, baggage, or merchandise, even though such persons,
         baggage, or merchandise were inspected, examined, searched, or taken
         on board the vessel at another port or place in the United States or the
         Virgin Islands, if such action is deemed necessary or appropriate.
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                                TRADEMARK COUNTERFEITING


       5.      This investigation involves matters of counterfeiting. For purposes of this

affidavit, the term "counterfeiting" applies solely to the infringement of a trademark. A

counterfeit is a spurious (i.e., false, non-genuine) trademark which, among other things, is

identical to, or substantially indistinguishable from,a federally registered U.S. trademark. See

18 U.S.C. §2320(f)(l)(A).



       6.      For purposes of this affidavit, a "trademark" is any word, name, symbol or

device, or any combination thereof, used to identify and distinguish a person or company's

goods,including a unique product,from those manufactured or sold by others, and to indicate

the source of the goods. A trademark is registered with the United States Patent and

Trademark Office (hereinafter, "USPTO"). Enforcement of trademarks is limited only to

those items that are "registered" with the USPTO.



       7.      It is a crime for anyone to intentionally traffic or attempt to traffic in counterfeit

goods, knowing that a counterfeit mark is used on or in connection with such goods. See 18

U.S.C. §2320(a). A "counterfeit mark" means, among other things, a spurious mark used in

connection with trafficking in goods, that is identical with, or substantially indistinguishable

from,a mark registered for those goods with the USPTO. To qualify as a "counterfeit mark,"

the mark must also be in use (whether or not the trafficker knows the mark is registered) and

the use ofsuch mark must be likely to deceive or to cause confusion or mistake. See 18 U.S.C.

§2320(f)(l)(A). "Traffic" means to transport, transfer or otherwise dispose of, to another, for
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anything of value, or to obtain control of with intent to so transport, transfer or dispose of.

See 18 U.S.C.§ 2320(f)(5).



                             OVERVIEW OF THE INVESTIGATION


       8.      On December 31, 2018, United States Customs and Border Protection(GBP)

officers located at the DHL Hub in Rochester, New York, inspected and subsequently seized

a DHL Express Worldwide shipment, consigned to Patrick GIBBONS at the SUBJECT

PREMISES.        The shipment was sent from a person located in Shenzhen, China.

Examination revealed the package contained thirteen pairs of sneakers. There were 12 pairs

of Nike Air Jordan sneakers and 1 pair ofnon-Air Jordan Nike sneakers. The sneakers were

individually wrapped in plastic bags. Also found in the shipment were unbranded boxes

shipped alongside the sneakers. Examination ofthe sneakers was completed by CBP Officers

who were trained by Nike representatives on how to identify counterfeit Nike products. Based

on the packaging, the poor stitch quality and excessive glue around the sole, the sneakers were

determined to be counterfeit.




       9.      The package was manifested as "men's PVC sneakers" with a declared total

value of$130, or $10 per pair of sneakers. The true MSRP for these sneakers, as determined

by a Nike representative, is $140 for three of the shoe styles found in the shipment, and $90

for the other shoe style. The difference between the manifested $10 per pair versus the actual

MSRP iudicates knowledge of the fact that GIBBONS was ordering counterfeit sneakers.

Therefore, the shipping manifest contained a false declaration pertaining to the shipment of
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Nike sneakers.      CBP officially seized the package on January 12, 2019 and started

administrative forfeiture proceedings.



       10.    Photographic samples of the sneakers were provided to a representative of the

Nike trademark holder, Nike, Inc. The company representative verified the sneakers to be

counterfeit. The representative cited the following reasons for his conclusion that the sneakers

are counterfeit:


                   • The product and color code is not valid;
                   • The "Jordan" logo on the tongue does not meet Nike design
                      standards;
                   • The UPC on the tongue/size label is not valid;
                   • The serial number on the tongue/size label is not valid


       11.    On January 18, 2019, the CBP Fines, Penalties and Forfeiture (FPF) Office

sent a seizure notice to Patrick GIBBONS at the Subject Premises. The seizure notice stated

in part:

              This is to notify you the U.S. Customs and Border Protection seized the
              property described below ((Ipr) Nike Sneakers/(12pr) Nike Air Jordan
              Sneakers) at Port of Rochester, New York on January 12, 2019. The
              property was seized in accordance with the provisions ofTitle 19 United
              States Section 1526(e) which prohibits the importation of merchandise
              bearing counterfeit trademark that is both registered with the Patent and
              Trademark Office and recorded with Customs and Border Protection.
              The property contains markings which are substantially
              indistinguishable    from    and     therefore,    bear     counterfeit
              design/word/mark as indicated below. Customs and Border Protection
              Regulations provide that any article imported into the United States
              bearing a counterfeit trademark shall be seized and, in the absence of
              written consent of the trademark owner, forfeited for violation of the
              Custom laws.


              CBP sent an "Election of Proceedings Non CAFRA Form" to GIBBONS at

the SUBJECT PREMISES, which provided 5 choices for proceeding following the seizure of

the shipment. The choices were as follows:
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              1. Petition for return of the property;

             2. Offer a compromise;

             3. Abandon the property;

             4. Request a hearing in court; or

             5. Have CBP begin administrative proceedings for forfeiture ofthe property.

      CBP FPF did not receive a response from GIBBONS.



       12.   Homeland Security Investigations (HSI) agents researched U.S. Customs and

Border Protection databases regarding importations to the SUBJECT PREMISES. It was

determined that in the prior six months, over 100 shipments,including the December 31,2018

shipment, were sent from China to the SUBJECT PREMISES. According to CBP, the

majority of those shipments were sent via U.S. Postal Service Express Mail(via China Post).

All of the shipments were destined for the SUBJECT PREMISES and consigned to Patrick

GIBBONS. The shipments came from various locations in Singapore, Hong Kong and

Guangzhou, China. The majority of the shipments came from the same location in

GUANGZHOU,CHINA.




       13.   It was further determined that four separate international inbound shipments

(1 DHL and 3 US Postal Service)—sent to GIBBONS from China—are being held by CBP

for examination. As of March 5, 2019, two of the US Postal Service shipments were

examined and found to contain counterfeit Nike sneakers. The DHL shipment contained 1

pair ofAdidas Yeezy sneakers which were also determined to be counterfeit and subsequently

seized by CBP. On March 13, 2019, an Adidas representative viewed photographs of the
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Adidas Yeezy sneakers and determined that the shoes are counterfeit based on, among other

things, an incorrect embroidery reproduction of the trademark and an invalid security label.



       14.    On March 1, 2019, your affiant conducted law enforcement and public

database research regarding Patrick GIBBONS and the SUBJECT PREMISES. Research

revealed that GIBBONS resides at the SUBJECT PREMISES.




   EVIDENCE. CONTRABAND.FRUITS & ESrSTRUMENTALITIES OF CRIME


       15.    Based on your affiant's training and experience, as well as discussions with

other law enforcement members, I know that:

              a. It is common for individuals involved in financial crime, including

                 trafficking in counterfeit and pirated goods, to maintain financial

                 documents and records relating to both their personal and business affairs.

                 These documents will show their acquisition, conversion, movement,

                 secreting, transfer and disbursement of currency, currency equivalents, and

                 illegal goods, including counterfeit and pirated goods. It is also common

                 for such persons to maintain currency, checks, money orders, credit cards,

                 credit card receipts, or other financial instruments which are the proceeds

                  or facilitating property ofthe illegal activity. These documents, records and

                 financial instruments are often retained for long periods of time in secure

                  and accessible locations, including residences, businesses, vehicles, safe

                  deposit boxes and storage facilities. Individuals involved in the sale of


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       counterfeit products also commonly engage in tax evasion and will

       maintain two sets of books, one recording all cash sales for their own

       information and one recording redacted cash sales figures.



    b. Financial documents and records used in trafficking counterfeit goods often

       include inventory ledgers; purchase          orders; confirmation letters;

       correspondence with co-conspirators; payment or disbursement ledgers;

       computer documents and/or files; invoices; employee lists and employment

       information; employee sales records; supplier and delivery records; receipts

       relating to illegal sales and to the expenditure of proceeds of illegal

       activities; U.S. Postal Service and/or next day carrier services documents

       and receipts; supplier, customer and/or co-conspirator telephone number

       and address listings; customer records; contracts; Rolodex files;

       photographs and other forms of identification of associates and co-

       conspirators; appointment books; notes; airline ticket receipts; records of

       money orders; bank accounts; and financial instruments.           All of the

       foregoing items and information constitute evidence, contraband, fruits, or

       instrumentalities of violations of Title 18, United States Code 2320

       (trafficking and attempting to traffic in counterfeit goods); Title 18, United

       States Code, Section 542(Entry ofgoods by means offalse statement); and

       Title 18, United States Code, Section 545(Smuggling goods into the United

       States).
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    c. Individuals involved in financial crime, including trafficking in counterfeit

       goods, create such documents, records, and information by various means,

       including, but not limited to, computers, smart phones, tablets, printers,

       telex machines, facsimile machines, currency counting machines, pagers

       (digital display beepers), and telephones, telephone answering machines,

       and cameras. These individuals also maintain such documents, records,

       and information in various forms, including, but not limited to, electrical,

       magnetic, photographic, and tangible form. The warrant application

       therefore requests authorization to search for and seize all of the foregoing

       items of evidence in whatever form and by whatever means they may have

       been created or stored,including any electrical, electronic, or magnetic form

       (such as any information on a desktop or laptop computer or an electronic

       or magnetic storage device, including hard drives, floppy diskettes, ZIP

       discs, CD-ROMs, optical discs, backup tapes, printer buffers, smart cards,

       memory calculators, pagers, personal digital assistants such as Palm Pilot

       computers, as well as printouts or readouts from any magnetic storage

       device); any handmade form (such as writing, drawing, painting); any

       mechanical form (such as printing or typing); and any photographic form

       (such as microfilm, microfiche, prints, slides, negatives, videotapes, motion

       pictures, photocopies).




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              d. Individuals involved in the purchase and distribution of counterfeit goods

                 in large quantities are likely to store those goods in multiple locations.

                  Specifically, individuals who do not operate a legitimate store front or

                  possess an offsite storage facility will utilize both their main residence and

                  any outbuildings including garages, sheds, and vehicles.



       16.    Individuals involved in the sale of counterfeit products deal in large amounts

of cash. Often this surplus cash is kept in the business, but sometimes it is also kept in the

business owner's residence. Individuals involved in financial crime also often use various

money laundering schemes to dispose of their crimmal proceeds to facilitate their crimes.

They frequently co-mingle legitimate funds in an attempt to conceal and disguise their sources

ofincome and they sometimes use a "nominee" or "straw purchaser" to purchase assets.



                       Searcbing of Computers and Related Media;

       17.    Your affiant has spoken with a certified Computer Forensics Agent from HSl.

This Computer Forensics Agent has received specialized training in connection with

searching through computers (and related equipment) for files/data, which may contain

information related to the items/materials being sought by this search warrant.



       18.    Based upon my consultations with the Computer Forensics Agent,1 know that

searching and seizing information from computer systems and other storage media

(computers, PDAs, cell phones, MF3 Players, etc.) often requires agents to seize most or all

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ofthe computer system or storage media to be searched later by a qualified computer forensic

analyst in a laboratory or other controlled environment. This is true for the reasons set out

below.




         19.   Computer storage media is used to save copies of files and communications,

while printers are used to make paper copies ofsame. Applications and associated data stored

on the storage media are the means by which the computer can send, print and save such

activity. Finally, password protected data and other security devices are often used to restrict

access to or hide computer software, documentation or data. Each of these parts of the

computer thus are integrated into the entire operation of a computer. To best evaluate the

evidence contained within computers, all related computer equipment described above should

be available to the Computer Forensics Agent.



         20.   In addition to the need to have all of the components available when a search

ofthe computer is undertaken, the search ofthe computer itself is a time consuming process.

However, unlike the search ofdocumentary files, computers store data in files, which caimot

easily be reviewed. For instance, a single 100 gigabyte hard drive is the electronic equivalent

of approximately 50,000,000 pages of double spaced text. Furthermore, software and

individual files can be password protected; files may be secluded in hidden directories; files

can be mislabeled or be labeled with names which are misleading; similarly, files which

contain innocent appearing names (e.g., _Smith.ltr_) may actually be electronic commands

to electronically self-destruct the data; files can also be deleted, but unlike documents which


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are destroyed, the data from deleted electronic files often remain on the storage device until

overwritten by the computer. For example, the computer's hard drive stores information in

a series of sectors each of which contain a limited number of electronic bytes (usually 512);

these sectors are generally grouped to form clusters. There are thousands or millions ofsuch

clusters on a hard drive. A file's clusters may be scattered throughout the drive (a portion of

a memo could be at Cluster 103 while the next portion ofthe memo could be stored at Cluster

2057). For a non-deleted file, there are "pointers" which guide the computer in piecing the

clusters together. For a file that has been deleted, the "pointers" have been removed. Thus,

the forensic examination would include the piecing together of the associated clusters that

made up the "deleted" file. Being aware ofthese pitfalls, the investigator/analyst must follow

a potentially time consuming procedure to review the contents ofthe computer storage device

so as to insure the integrity of the data and/or evidence. Even if a deleted file has been

overwritten and no fragment remains, applications, which provide access to the Internet and

operating systems, maintain records (or logs) of activity on the Internet for an indefinite

period. Such logs are located in files not usually used and/or accessed by computer users. A

single computer and related equipment could take many days to properly analyze.



       21.    Accordingly, there is a reasonable need to remove the computers and computer

related equipment to a forensic setting in order to properly conduct a thorough search of the

contents. Such action will greatly diminish the intrusion oflaw enforcement into the premises

and will ensure that evidence can be searched for without the risk of losing, destroying or

missing the information/data for which there has been authorization to search.


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       WHEREFORE, it is respectfully submitted that probable cause exists to believe that

violations of Title 18 United States Code, Section 2320 (Trafficking in Counterfeit Goods),

Section 542 (Entry of Goods by Means of False Statement) and Section 545 (Smuggling

Goods into the United States) have occurred and that property, evidence, fruits and

instrumentalities of these offenses, more fully described in Attachment B of this affidavit, are

located at the SUBJECT PREMISES, as described in Attachment A.                  As such, it is

respectfully requested that the attached warrant be issued authorizing the search of the

SUBJECT PREMISES.




                                            Willia^h J. Aiello
                                            Special Agent
                                            Homeland Security Investigations


Subscribed and sworn before me
this /j?// day of March 2019.




   )N. JER^TIAH MCCARTHY
United States Magistrate Judge




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                                 ATTACHMENT A
             DESCRIPTION OF LOCATIONS TO BE SEARCHED


• The entire property located at 25 Avery Avenue, Lackawanna, NY 14218, including
  the residential building, any outbuildings, and any appurtenances thereto. The
  residential building, as depicted below, is a single story, single family residence with
  white siding. The front of the residence has a small porch with a small roof. There
  are a set of small black numbers "25" located on siding above the blue mailbox. The
    blue mailbox is located to the left of the front door. The front door is white with a
    metal storm door on the outside. A long driveway is located to the left ofthe residence.
    The driveway leads to a small detached garage with white siding and a blue door.

• The detached garage with white siding and a blue door.

• The person of Patrick GIBBONS, and any vehicle located at the SUBJECT
  PREMISES that reasonably appears to be owned or operated by GIBBONS.




                                                                                  '.
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 ATTACHMENT B - DESCRIPTION OF ITEMS TO BE SEARCHED AND SEIZED

       Items to be searched and seized are the evidence, fruits, instrumentalities, or

contraband relating to violations ofTitle 18, United States Code,Sections 2320,542, and 545,

including the following:



A.     RECORDS


       1.      Records, documents, and materials containing information of past and present

criminal activity involving trafficking or conspiring to traffic counterfeit goods. The terms

"records," "documents," and "materials," includes such items in all forms, including paper,

photographic, mechanical, electronic, magnetic, and optical forms, or other coding forms on

computer media or on media capable of being read by a computer or computer-related

equipment, such as fixed hard discs, external hard discs, removable hard discs, floppy

diskettes, compact discs(CDs), digital video discs(DVDs),tapes, optical storage devices,laser

discs, electronic notebooks, zip discs, printer buffers, smart cards, or other memory storage

devices.




       2.      Records, documents, and materials that relate to the business of trafficking in

counterfeit goods, and that contain, constitute or concern inventory ledgers; purchase orders;

confirmation letters; correspondence with co-conspirators; payment or disbursement ledgers;

computer documents and/or files; invoices; employee lists and employment information;

employee sales records; supplier and dehvery records; receipts relating to illegal sales and to

the expenditure of proceeds of illegal activities; U.S. Postal Service and/or next day carrier
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services documents and receipts; real estate and storage facility lease and title documents;

supplier, customer and/or co-conspirator telephone or fax number and address listings;

customer records; contracts; Rolodex files; keys; photographs and other forms of

identification of associates and co-conspirators; appointment books; notes; and airline ticket

receipts.



       3.       Records, documents, and materials containing, constituting or conceming

financial transactions, financial statements, and financial summaries; including bank

statements; currency; other financial instruments; financial applications; wire transfer

records; credit cards; credit card statements and records; ATM access cards; credit reports;

social security cards; accounting records; money orders; checks; tax records; ledgers; and

joumals, relating to trafficking in counterfeit goods.



       4.       Records, documents,and materials that relate to the businesses oftrafficking in

counterfeit goods and that contain, constitute or concem identification, foreign or domestic

travel, or occupancy, residency, and ownership, such as driver's licenses; passports; visas;

airline tickets; social security documents; mail; utility records; telephone records; and

mortgages, deeds, and lien records.



B.     HARDWARE


       5.       Any and all computer hardware that reasonably appears to be in Patrick

GIBBONS' actual or constructive possession, custody, or control. Computer hardware is
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defined as that which can collect, analyze, create, display, convert, store, conceal, or transmit

electronic, magnetic, optical, or similar computer impulses or data related to trafficking in

counterfeit goods. Hardware includes any data-processing devices(such as central processing

units, memory typewriters. Personal Data Assistants(PDAs), smart phones, tablets and self-

contained "laptop" or "notebook" computers); internal and peripheral storage devices (such

as fixed disks, extemal hard disks, floppy disk drives and diskettes, removable magnetic disk

storage drives and disks, tape drives and tapes, optical storage devices, transistor-like binary

devices, and other memory storage devices); peripheral input/output devices (such as

keyboards, printers, scaimers, plotters, video display monitors, and optical readers); and

related communications devices (such as modems, cables and connections, and RAM or

ROM units); as well as any devices, mechanisms, or parts that can be used to restrict access

to computer hardware(such as physical keys and locks).



C.     SOFTWARE


       6.     Computer software consisting of digital information which can be interpreted

by a computer and any of its related components to direct the way they work, in whatever

form it may be found, to include: electronic, magnetic, optical, or other digital form, in

addition to printed source code,related to trafficking in counterfeit goods. Software includes,

but is not limited to: any programs to run operating systems, control peripheral equipment,

apphcations, utilities, scripts, compilers, interpreters, and communications programs; any

programs, whether functional or not, to assist in the defeat of security/protective features in

place to prevent the unauthorized copying, distribution, and/or activation ofsoftware; along
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with any and all programs necessary for the proper functioning ofthis software.



D.     PASSWORDS,DATA SECURITY DEVICES & COMPUTER
         DOCUMENTATION


         7.   Computer passwords and other data security devices that are designed to

restrict access to or hide computer software, documentation, or data. Data security devices

may consist of hardware, software, or other programming code. A password (a string of

alpha-numeric characters) usually operates as a sort of digital key to "unlock" particular data

security devices. Data security hardware may include encryption devices, chips, and circuit

boards.




         8.   Data security software or digital codes may include programming code that

creates "test" keys or "hot" keys, which perform user-defined security-related functions when

activated. Data security software or code which might also encrypt, compress, hide or

"booby-trap" protected data to make it inaccessible or unreadable as well as reverse the

process to restore the data. Computer passwords may be stored in electronic media or written

down on ledgers, books, papers, etc.



         9.   Computer-related documentation consisting of written, recorded, printed, or

electronically stored material which explains or illustrates how to configure or use the

computer hardware, software, or other related items, related to trafficking in counterfeit

goods.
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E.     COUNTERFEIT         GOODS & RELATED              EQUIPMENT, DEVICES &
       MATERIALS


       9.     All counterfeit items such as sneakers, clothing or bags; any identifying

containers, product literature, documentation or packaging; and any tools, equipment,

devices or materials for use in the manufacture, preparation, creation, or distribution of

merchandise bearing unauthorized use ofregistered trademarks.



       10.    Any and all correspondence or notices from U.S. Customs and Border

Protection, or any other governmental agency, regarding shipments of counterfeit, or

suspected counterfeit, goods.



F.    PROCEEDS


       11.    Any and all U.S. Currency, foreign currency, money orders, and checks

obtained as a result of the distribution of illicit merchandise containing trademarks in

violation ofthe above offenses.
